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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY



  UNITEE) STATES OF AMERICA                            =   Hon. Steven C. Mannion,U.SM.J

              ‘I.                                      I   Mag. No. 15-6096

  TYRONE DUNSON,                                           ORDER FOR CONTINUANCE
   a/k/a “Rudy”




         This matter having been opened to the Court by Paul J. Fishman. United States Attorney

  for the District of New Jersey (Osmar i. Benvenuto. Elizabeth M. harris. and Barry A. Kamar.

  Assistant United States Attorneys. appearing), and the deflndant Tyrone Dunson a/k/a “Rudy”

  (David Glazer, Esq., appearing), for an order granting a continuance of the proceedings in the

  above-captioned matter; and Defendant being aware that he has the right, under 18 U.S.C. §

  3161(b), to have the matter presented to a Grand Jury within thirty (30) days of his arresi; and

  the Defendant through his attorney having consented to the continuance; and one prior

  continuance having been granted by the Court; and for good and sut’ticient cause shown.

         IT IS 1HE FINDING OF TillS COURT that this action should be continued for the

  following reasons:

                    Plea negotiations currently are in progress, and both the United States and the

                    Defendant seek additional time to achieve successful resolution of these

                    negotiations, which would render trial ol’this matter unnecessary.

         2.         Deftndant has consented to the aforementioned continuancc.

         3.         The grant oI’a continuance will likely conserve judicial resources.
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               Pursuant to Vale I X of the I nued States Code. Section 31 Ii h ii 7 a A). the ends of

                usIce served by eranhina the eontmuance outwcieh the best tntcrests of the

               pubIc and the Defendant m a speedy trial

        ‘J II IzRLVQR b. ii is on this dav of .1 i. 2015.

        ORDERE[) that the proceedinw4 in the uhovecapnoned matter are continued from the

 date ot this order throuch October 31 201 5 and

        11 IS FI3RTI hER ORDER ED that the aforementioned penod shalt he ex1udahle in

 compunne time under the Speed\ Foal Act of I 974
                                                                ‘1              /
                                                       FIonorabStcven C. Mannion
                                                       United States Magistrate Judge


 Consented and Agreed to by



 David Giater, Esq.
 Counsel for Defendant




 Osmar J flenvenuto
 Elizabeth M. Harris
 Barry A Karnar
 Assistant United States Attorneys
